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UNITED STATES BANKRUPTCY COURT, SOUTHERN DISTRICT OF FLORIDA

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CHAPTER 13 PLAN (Individual Adjustment of Debts)

 

 

 

 

 

 

[mi] Original Plan
| Amended Plan (Indicate Ist, 2nd, etc. Amended, if applicable)
| Modified Plan (Indicate Ist, 2nd, etc. Modified, if applicable)
DEBTOR: WEIG, MARC JOINT DEBTOR: WEIG, HELENE CASE NO.: 19-23327-MAM
SS#: xxx-xx- 7385 SS#: xxx-xx-4720
I. NOTICES
To Debtors: Plans that do not comply with local rules and judicial rulings may not be confirmable. All plans, amended plans

and modified plans shall be served upon all creditors and a certificate of service filed with the Clerk pursuant to
Local Rules 2002-1 (C)(5), 3015-1(B)(2), and 3015-2. Debtor(s) must commence plan payments within 30 days of
filing the chapter 13 petition or within 30 days of entry of the order converting the case to chapter 13.

To Creditors: Your rights may be affected by this plan. You must file a timely proof of claim in order to be paid. Your claim may
be reduced, modified or eliminated.

To All Parties: The plan contains no nonstandard provisions other than those set out in paragraph VIII. Debtor(s) must check one
box on each line listed below in this section to state whether the plan includes any of the following:

 

The valuation of a secured claim, set out in Section III, which may result in a

partial payment or no payment at all to the secured creditor [m] Included L] Not included

 

Avoidance of a judicial lien or nonpossessory, nonpurchase-money security interest, set

out in Section IIT L_] Included [m] Not included

 

 

 

 

Nonstandard provisions, set out in Section VIII [_] Included [m] Not included

 

 

II. PLAN PAYMENTS, LENGTH OF PLAN AND DEBTOR(S)' ATTORNEY'S FEE

A. MONTHLY PLAN PAYMENT: This Plan pays for the benefit of the creditors the amounts listed below, including trustee's
fees of 10%, beginning 30 days from the filing/conversion date. In the event the trustee does not retain the full 10%, any unused
amount will be paid to unsecured nonpriority creditors pro-rata under the plan:

 

1. $352.30 formonths_ 1 to 40 ;
2. $342.29 formonths 41 to 60 _;
B. DEBTOR(S)' ATTORNEY'S FEE: [] NONE [_] PROBONO
Total Fees: $5550.00 Total Paid: $310.00 Balance Due: $5240.00
Payable $0.00 /month(Months _to__)

Allowed fees under LR 2016-1(B)(2) are itemized below:
$4,500.00 + $525.00 (M2 Set Interest Rate) + $525.00 (M2 Value Personal Property) = $5,550.00

Applications for compensation must be filed for all fees over and above the Court's Guidelines for Compensation.

 

 

 

Til. TREATMENT OF SECURED CLAIMS

A. SECURED CLAIMS: [|] NONE
[Retain Liens pursuant to 11 U.S.C. §1325 (a)(5)] Mortgage(s)/Lien on Real or Personal Property:

 

1. Creditor: Treasure Coast Auto Sale

 

 

Address: 3307 South US Hwy 1 Arrearage/ Payoff on Petition Date $4,675.80 (Incl. 7.0 % APR)
Fort Pierce, FL 34982 Regular Payment (Maintain) $77.93 /month(Months 1 to 60 )
Last 4 Digits of
Account No.: N/A
Other:

 

 

 

 

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[_] Real Property Check one below for Real Property:

[_ [Principal Residence [_]Escrow is included in the regular payments

[_ Other Real Property [_|The debtor(s) will pay [_]|taxes [_Jinsurance directly
Address of Collateral:
[m] Personal Property/Vehicle
Description of Collateral: 2005 Ford Taurus SEL 4D Sedan; Vin No.: 1FAFP56285A206248
2. Creditor: w.S. Badcock

Address: P.O. Box 724 Arrearage/ Payoff on Petition Date $423.25
Mulberry, FL 33860 Regular Payment (Maintain) $10.59 /month (Months 1 to 40 )

 

Last 4 Digits of
Account No.: 2858
Other:
[_] Real Property Check one below for Real Property:
[_ [Principal Residence [_]Escrow is included in the regular payments
[_ Other Real Property [_|The debtor(s) will pay [_|taxes [_Jinsurance directly
Address of Collateral:

[m] Personal Property/Vehicle
Description of Collateral: Household Goods

 

 

 

 

B. VALUATION OF COLLATERAL: [| NONE

IF YOU ARE A SECURED CREDITOR LISTED BELOW, THE PLAN SEEKS TO VALUE THE COLLATERAL
SECURING YOUR CLAIM IN THE AMOUNT INDICATED. A SEPARATE MOTION WILL ALSO BE SERVED UPON
YOU PURSUANT TO BR 7004 AND LR 3015-3.

1. REAL PROPERTY: [mi] NONE
2. VEHICLES(S): [[] NONE

 

1. Creditor: AmeriCredit/GM Financial Payment

Total paid in plan:

Value of Collateral: $7,125.00

$7,345.00

 

Address: Po Box 183853 $8,467.80

Arlington, TX 76096

Amount of Creditor's Lien:

 

$100.00 _/month (Months 1 to 40 )

$223.24 _/month (Months 41 to 60 )

Last 4 Digits of Account No.: 8568
VIN: 1G1PH5SB8D7157123

Description of Collateral:
2013 Chevrolet Cruze Eco 4D Sedan

Interest Rate: 7.00%

 

 

Check one below:

alain incurred 910 days or more pre-
petition

cain incurred less than 910 days pre-
petition

 

 

 

 

 

3. PERSONAL PROPERTY: [m] NONE
C. LIEN AVOIDANCE [mg] NONE

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D. SURRENDER OF COLLATERAL: Secured claims filed by any creditor granted stay relief in this section shall not receive a
distribution fom the Chapter 13 Trustee.

[§] NONE

E. DIRECT PAYMENTS: Secured claims filed by any creditor granted stay relief in this section shall not receive a distribution
fom the Chapter 13 Trustee.

(m] NONE
IV. TREATMENT OF FEES AND PRIORITY CLAIMS [as defined in 11 U.S.C. §507 and 11 U.S.C. § 1322(a)(4)]
A. ADMINISTRATIVE FEES OTHER THAN DEBTORS(S)' ATTORNEY'S FEE: [mi] NONE
B. INTERNAL REVENUE SERVICE: |] NONE
C. DOMESTIC SUPPORT OBLIGATION(S): [m] NONE
D. OTHER: [m] NONE
V. TREATMENT OF UNSECURED NONPRIORITY CREDITORS
A. Pay $10.00 ‘month (Months 41 to 60 )

 

Pro rata dividend will be calculated by the Trustee upon review of filed claims after bar date.
B. [_] If checked, the Debtor(s) will amend/modify to pay 100% to all allowed unsecured nonpriority claims.
C. SEPARATELY CLASSIFIED: [mi] NONE

*Debtor(s) certify the separate classification(s) of the claim(s) listed above will not prejudice other unsecured nonpriority
creditors pursuant to 11 U.S.C. § 1322.

VI. EXECUTORY CONTRACTS AND UNEXPIRED LEASES: Secured claims filed by any creditor/lessor granted stay relief in this
section shall not receive a distribution from the Chapter 13 Trustee.

[§] NONE
VII. INCOME TAX RETURNS AND REFUNDS: [mj] NONE
VIII. NON-STANDARD PLAN PROVISIONS [mi] NONE

PROPERTY OF THE ESTATE WILL VEST IN THE DEBTOR(S) UPON PLAN CONFIRMATION.

I declare that the foregoing chapter 13 plan is true and correct under penalty of perjury.

 

 

 

/s/ Debtor October 31, 2019 /s/ Joint Debtor October 31, 2019
WEIG, MARC Date WEIG, HELENE Date
/s/Brian J. Cohen, Esq. October 31, 2019

Attorney with permission to sign on Date

Debtor(s)’ behalf

By filing this document, the Attorney for Debtor(s) or Debtor(s), if not represented by counsel, certifies that the wording and
order of the provisions in this Chapter 13 plan are identical to those contained in Local Form Chapter 13 Plan and the plan
contains no nonstandard provisions other than those set out in paragraph VIII.

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